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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 18-21914-CIV-SCOLA

   CHARLENE MAJOR,

           Plaintiff,

   vs.

   CARNIVAL CORPORATION,

         Defendant.
  ______________________________________/

                  PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE
         EVIDENCE, TESTIMONY & ARGUMENT REGARDING MARIJUANA USE

          Plaintiff, by and through her undersigned counsel, hereby moves in limine with regard to

  any reference, argument, questioning or making comments about Plaintiff’s alleged marijuana

  use, and in support thereof states as follows:

          1. Defendant’s expert, Dr. Allen Singer, includes in his expert report several references

  to alleged marijuana use by Plaintiff. But Dr. Singer’s report does not include any facts regarding

  any alleged marijuana use by Plaintiff on the subject cruise. Nor does Dr. Singer opine that any

  alleged marijuana use by Plaintiff caused or contributed to causing the racially motivated assault

  that Plaintiff suffered on May 20, 2017, aboard the Carnival Imagination. Furthermore, Dr. Singer

  does not opine that any alleged marijuana use by Plaintiff is the cause or a contributing factor with

  respect to Plaintiff’s injuries sustained as a result of the subject incident.

          2. Under FRE 403, there is no question that Plaintiff’s alleged marijuana use prior to and

  after the subject cruise is irrelevant to the racially motivated assault that Plaintiff suffered as a

  result of Defendant’s negligent security and negligent over-service of alcohol to Timothy Stordahl

  and Elaine Barrera on May 19 – 20, 2017, aboard the Carnival Imagination. Plaintiff’s alleged


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  marijuana use is not relevant to any material fact in this case. The probative value of Plaintiff’s

  alleged marijuana use is non-existent in this case, and is, without doubt, substantially outweighed

  by the dangers of unfair prejudice, confusing the issues, misleading the jury, and wasting time.

         WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an Order

  precluding Defendant from presenting evidence, eliciting testimony, or making arguments about

  about Plaintiff’s alleged marijuana use.

                                       Certificate of Counsel

         Pursuant to Local Rule 7.1(a)(3), I hereby certify that counsel for the movants has

  conferred with counsel for Defendant in a good faith effort to resolve the issues raised in this

  motion, but counsel for Defendant has not agreed to the relief sought herein.

                                                       Respectfully submitted,

                                                       DIMOND KAPLAN & ROTHSTEIN, P.A.
                                                       Plaintiff’s Co-Counsel
                                                       Offices at Grand Bay Plaza
                                                       2665 South Bayshore Drive, PH-2B
                                                       Miami, Florida 33133
                                                       Telephone:     (305) 374-1920
                                                       Facsimile:     (305) 374-1961
                                                       E-Mail:        cdrury@dkrpa.com

                                                       By:    s/ Christopher M. Drury
                                                              Christopher M. Drury
                                                              Fla. Bar No. 796751




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on May 21, 2019, I electronically filed the foregoing document with

  the Clerk to the Court using CM/ECF. I also certify that the foregoing document is being served

  this day on all counsel of record or pro se parties identified on the below Service List in the manner

  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

  other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.

                                                 s/ Christopher M. Drury
                                                 CHRISTOPHER M. DRURY


                                           SERVICE LIST

                                     MAJOR v. CARNIVAL CORP.

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   Tonya J. Meister, Esq.                               Curtis J. Mase, Esq.
   Fla. Bar No. 0629243                                 cmase@maselaw.com
   Courthouse Tower – Suite 750                         Victor J. Pelaez, Esq.
   44 W. Flagler Street                                 vpelaez@maselaw.com
   Miami, Florida 33130                                 MASE MEBANE & BRIGGS, P.A.
   Telephone: (305) 590-5570                            2601 South Bayshore Drive, Suite 800
   Attorney for Plaintiff                               Miami, Florida 33133
                                                        Telephone: (305) 377-3770
                                                        Facsimile: (305) 377-0080
                                                        Attorneys for Defendant




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